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                             Exhibit 2
              Declaration of Gregory Graves
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-02768-WJM-STV

   STATE OF COLORADO, and
   JENA GRISWOLD, Colorado Secretary of State,

          Plaintiffs,
   v.

   LOUIS DEJOY, in his official capacity as Postmaster General,
   UNITED STATES POSTAL SERVICE,
   SAMARN S. REED, in his official capacity as Denver, Colorado Postmaster, and
   CHRIS J. YAZZIE, in his official capacity as Albuquerque, New Mexico Postmaster,

          Defendants.


                             DECLARATION OF GREGORY GRAVES


          I, Gregory Graves, pursuant to 28 U.S.C. § 1746, and based upon my personal knowledge

   and information made known to me from official records reasonably relied upon by me in the

   course of my employment, hereby declare as follows relating to the above-titled matter.

   I.     Background

          1.      I am Vice President of Delivery and Retail Operations for the Postal Service’s

   WestPac (WesternPacific) Area. I assumed this role in August 2020.

          2.      As Vice President of Delivery and Retail Operations, my responsibilities include

   oversight of all retail and delivery operations in the western United States, as reflected in the

   image below, including the vast majority of 15 states in the continental United States, in addition

   to the states of Alaska and Hawaii.


                                                     1
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          3.      As part of my duties and responsibilities, I work daily with delivery and retail

   managers across the WestPac Area, along with plant managers and logistics managers, to ensure

   the timely and efficient delivery of mail. In the course of my official duties, I have access to

   daily mail processing, logistics, retail, and delivery data. I also meet daily, typically via

   teleconference, with a leadership team across the WestPac Area to identify any potential mail

   delays and to address emergent issues. I work with this team on a regular basis to develop short,

   medium, and long-terms plans and strategies to ensure the ongoing, efficient, delivery of mail

   throughout the WestPac Area.

          4.      I have been employed by the USPS, in positions of increasing responsibility, for

   over 37 years. Prior to assuming my current role, I served for four and a half years as the Vice

   President of the Western Area Operations for USPS. In that position, I oversaw mail processing,

   distribution, customer service, and administration, including budgetary operations, throughout

   the Western Area. I have also served as Manager, Operations Support for the Pacific Area;
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   Manager, Integration and Support for the Chief Operating Officer and Executive Vice President

   at the postal headquarters; District Manager for the Los Angeles District and Mid-America

   District; and Manager, Delivery Programs for the Western Area. I graduated from Colombia

   College of Missouri with a Bachelor of Science degree in Business, and completed my graduate

   business studies at Colorado University.

          5.      Through the course of my 37-year career with the USPS, I have become highly

   familiar with USPS operations nationwide and the manner in which mail is processed and

   delivered throughout the United States, including in Colorado, specifically.

   II.    The USPS postcards.

          6.      I am aware that the State of Colorado and the Colorado Secretary of State have

   initiated a lawsuit against the USPS, and are alleging that USPS postcards recently sent to USPS

   customers around the country may cause confusion regarding the voting process in Colorado. I

   am familiar with the postcards at issue in this case, and with the manner in which these postcards

   were processed and distributed in Colorado. I also have access to internal USPS tracking data

   regarding these postcards, and have extracted and set forth the Colorado-specific data relating to

   the postcards below.

          7.      The postcards at issue in this case were mass-produced by three printing

   suppliers. Once the postcards were printed, they were grouped into large pallets and sent via one

   logistics supplier to approximately 216 different mail processing facilities around the United

   States for further processing and distribution to individual households.

          8.      In Colorado, specifically, the postcards were sent to two mail processing facilities,

   including the Denver Network Distribution Center (“Denver NDC”), which processes mail for
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   the entire Western region, and the Denver Processing & Distribution Center (“Denver P&DC”),

   which processes mail for Colorado and Wyoming.

           9.         The Denver NDC and Denver P&DC received four combined shipments of

   postcards from September 9, 2020, through September 11, 2020. The last shipment arrived on

   September 11, 2020, at approximately 10:00 am.

           10.        From the Denver NDC and Denver P&DC, several pallets of postcards were then

   shipped to smaller USPS plants in Grand Junction and Colorado Springs, for further processing

   and delivery to Colorado residents outside the Denver metro area.

           11.        In addition, the USPS maintains a distribution center in Albuquerque, New

   Mexico (“Albuquerque Plant”), which services the four corners region of the United States,

   including the southernmost part of Colorado. The Albuquerque Plant received its own palettes of

   postcards on approximately September 8, 2020.

           12.        Once the pallets of postcards reached their destinations at the Denver, Grand

   Junction, Colorado Springs, and Albuquerque plants, they were broken down so that they could

   be mechanically processed through numerous mail-sorting machines, and grouped into subsets of

   mail directed to specific geographical territories within Colorado.

           13.        This sorting process involves a “multi-phase” system, the last step of which sorts

   the mail into a delivery point sequence (“DPS”) for each mail carrier, which tracks the carrier’s

   mail route. This automated process allows carriers to deliver mail efficiently along their routes in

   the order that it has been sorted. The USPS has the ability to track, with barcodes, when certain

   pieces of mail—including the USPS postcards at issue here—pass through the machines for the

   final sortation.
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          14.     Once the mail has been processed through the final sortation, it is loaded onto

   trucks for dispatch to post offices around the state for delivery the same day. That delivery

   includes delivery on designated routes as well as to post office boxes. Accordingly, if a certain

   piece of mail has been processed through the final sortation, it will generally be dispatched to a

   mail carrier or clerk and delivered to the intended address the same day it is processed.

   III.   Delivery of USPS postcards in Colorado.

          15.     I have reviewed the USPS’s internal tracking data relating to the postcards and

   have determined that, at this point in time, approximately 75% or more of the postcards

   designated for Colorado addresses have already been processed and delivered.

          16.     The following chart reflects a conservative estimate of the postcards that were

   already processed and dispatched in Colorado as of 12:00pm on Saturday, September 12, 2020.




          17.     The left-hand column of the chart shows the location of each processing and

   distribution center or plant that processed and delivered postcards to Colorado addresses. These


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   facilities include Albuquerque, Denver, and Grand Junction. For tracking purposes, the Colorado

   Springs Plant is considered to be a component of the overall “SCF Denver” or Denver P&DC,

   and thus does not have its own separate category. Accordingly, the Colorado Springs Plant

   numbers are subsumed within, and captured by, the row of the chart that reflects the “SCF

   Denver.” Regarding the Albuquerque Plant, the USPS does not currently have information

   showing precisely what percentage of that distribution center’s mail is directed to southern

   Colorado, versus northern New Mexico.

          18.     The second column of the chart, labeled “Mailed,” shows the total number of

   postcards that each distribution center received for processing and distribution. The “total” figure

   at the top of this column reflects the number of postcards sent to distribution centers nationwide.

   In other words, 136,479,032 postcards have been sent out to USPS distribution centers around

   the United States for processing and delivery to USPS customers.

          19.     The third column, labeled “% Mailed,” shows what percentage of postcards each

   individual distribution center received out of the total number of postcards nationwide. For

   example, the Denver P&DC received 2,220,279 postcards for processing and distribution. The

   total number of postcards, nationwide, is 136,479,032. Accordingly, the Denver P&DC received

   1.6% of the total number of postcards, nationwide.

          20.     The fourth column, labeled “Tracked,” shows the number of postcards that have

   been processed through the final sortation step described above. As set forth above, once the

   mail has been sorted through the final sortation, it is quickly dispatched to individual post offices

   for delivery by clerks (to post office boxes) and carriers via route delivery. Accordingly, the

   numbers contained in the fourth, “Tracked” column, are a reasonable proxy for the number of
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   postcards that have already been delivered.

          21.     The fifth column, labeled “% Tracked,” shows the percentage of postcards that

   have been processed through the final sortation, as a percentage of the overall number of

   postcards received by the particular distribution center. For example, the Albuquerque Plant has

   completed the final sortation for 612,636 postcards out of a total of 679,349 postcards, for a total

   processing and delivery rate of 90.1%.

          22.     Finally, the four remaining columns, labeled “Wed 09/09/2020,” “Thu

   09/10/2020,” “Fri 09/11/2020,” and “Sat 09/12/2020,” show the number of postcards that were

   processed through the final sortation at the given distribution center on a particular date. For

   example, in the Denver P&DC, approximately 439 postcards were processed on September 10,

   2020, and approximately 706,673 postcards were processed on September 11, 2020. And

   because, again, this final sortation is a reasonable proxy for identifying which postcards have

   been sent out for delivery, it is reasonable to estimate that approximately 707,112 had already

   been delivered to Colorado residents by the end of the day on Friday, September 11, 2020, and

   another 678,190 by the end of day on Saturday, September 12, 2020.

          23.     Furthermore, nearly 100% of the postcards processed through the Albuquerque

   and Grand Junction distribution centers have already been dispatched and delivered to addresses

   in southern and western Colorado.

          24.     Regarding the Denver P&DC, specifically, the chart shows that approximately

   62.4% of the postcards designated for distribution had been processed by 12:00 pm on Saturday,

   September 12. However, based on my discussions with the Senior Plant Manager for the Denver

   P&DC, my understanding is that the true number is actually higher. The 62.4% figure does not
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   reflect a significant portion of the postcards that were, for one reason or another, unable to be

   processed through the automated equipment and instead had to be processed manually and

   dispatched for delivery. At my request, the Senior Plant Manager conducted a physical

   inspection of the Denver P&DC and estimated that approximately 75% of its total postcards (or

   roughly 1,665,209 postcards), have been dispatched to postal delivery units for delivery to

   Colorado households, rather than 62.4%.

           25.     For the remaining 25% of postcards that have not yet been dispatched for

   delivery, the Denver P&DC has begun processing these postcards for mailing, but stopped the

   process today, September 12, 2020, upon learning of the State’s lawsuit. The Senior Plant

   Manager estimates that approximately 10% of the total number of postcards designated for

   processing through the Denver P&DC (or about 222,027 postcards) are currently located within

   the Denver P&DC, but have already been presorted and commingled with other mail. For these,

   and with minor exceptions, because the postcards have already been comingled with other mail,

   the postcards cannot be readily isolated or separated. However, postal management will

   endeavor to manually segregate the postcards to the fullest extent possible, and will have more

   information regarding the success of those efforts on Sunday, September 13, 2020.

           26.     If the USPS is not able to successfully isolate and segregate the postcards

   described in Paragraph 25, above, the burden of complying with the Court’s order directing the

   USPS to halt delivery of the postcards will fall entirely upon thousands of individual USPS mail

   clerks and carriers. 1 These clerks and carriers will need to be instructed to remove the individual


   1
    The Postal Service has more than 4,000 carriers and 650 post offices in Colorado. Regular deliveries are
   made six days per week, Monday through Saturday.
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   postcards from their delivery packets, address-by-address, as they are delivering the mail.

   Because the postcards are intermingled with the other mail and cannot be readily separated, the

   clerks and carriers would be required to inspect the mail that they deliver to each address in order

   to ensure that no postcard has been placed within that mail. This would be a multi-day process.

   Moreover, even if the Denver plant is successful in segregating and removing a portion of these

   postcards at the plant level, because the mailers have already been intermingled with the

   remainder of the mail, it is highly unlikely that the USPS would succeed in identifying and

   extracting every postcard at the plant—even though it would make its best efforts to do so.

   Because it is likely that at least some postcards would be missed, individual carriers around the

   state would still be responsible for searching through all of their mail, address-by-address, and

   for pulling out any lingering postcards remaining in their respective mailing packets.

          27.     As a practical matter, this effort would require a great deal of instruction to clerks

   and carriers, and additional effort by the employees, and it is unclear if it would be fully

   successful. It is possible that some employees may not receive the message in time, or that they

   may miss certain mailers when inspecting their respective packets for delivery. At the least, this

   work would require each employee to spend significant additional time inspecting and removing

   the mailers, would slow down the delivery of mail, and may involve overtime pay for the

   thousands of employees performing this work.

          28.     Finally, for the remaining 15% of postcards (or about 333,041 postcards) that

   have neither been delivered nor processed at the Denver P&DC, these postcards were isolated on

   September 12, 2020, when the Denver P&DC learned of this lawsuit. These postcards are

   currently being held in a separate location within the facility and have not yet been processed.
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          Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury that the

   foregoing is true and correct to the best of my information, knowledge, and belief.

   Executed on this 12th day of September 2020, in Westminster, CO.

                                                        s/ Gregory Graves
                                                        Gregory Graves
                                                        Vice President, Delivery & Retail
                                                        WestPac Area
                                                        United States Postal Service




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